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                                                                                          IN CLERK'S OFFICE
                      CIVIL CAUSE FOR STATUS CONFERENCE                             U.S. DISTRICT COURT E.D.N.Y.

                                                                                     *       MAY 14 2019     *
 BEFORE: JUDGE FEUERSTEIN                                                            LONG tSLf.\h!O OFFICE


 DATE: May 14, 2019                      Tilvffi: 30 MINUTES


 CASE NillvlBER:        2: 17-cv-01495-SJF-AYS

 CASE TITLE:            Summers et al v. Long Beach City School District et al

 PLTFFS ATIY:            Jason Sultzer and Gerard Misk
                         X present               not present



 DEFI'S ATIY:            John Flaherty and Jennifer Robinson
                         X present               not present




 COURT REPORTER:

 COURTROOM DEPUTY: Bryan Morabito


.X      CASE CALLED.

        HEARING HELD/ CONT'D TO_ _ _ _ __

        ORDER ENTERED ON THE RECORD.

 OTHER: Outstanding discovery is respectfully referred to the assigned magistrate iudge. All

 discovery shall be complete by 2/18/2020. A pretrial conference is scheduled before Judge

 Feuerstein on 5/18/2020 at 11: 15 am.
